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VAN−117 Hearing Conference Worksheet − Rev. 09/27/2017


Date:_____________________                  Time: _____________________   Place: _____________________

Date:_____________________                  Time: _____________________   Place: _____________________

Date:_____________________                  Time: _____________________   Place: _____________________

IN RE:
Randy P. Coley                                             CASE NO.: 18−02154−5−JNC
202 Brittany Place
Cary, NC 27511                                             DATE FILED: April 30, 2018

Raleigh Division                                           CHAPTER: 11




                                         HEARING/CONFERENCE WORKSHEET

Matter to be heard:

11A Status Conference

J.M. Cook
J.M. Cook, P.A.
5886 Faringdon Place, Suite 100
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919 675−2411




DATED: April 30, 2018

Dawn Barnes
